Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 1 of 35




           EXHIBIT A
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 2 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 3 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 4 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 5 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 6 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 7 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 8 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 9 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 10 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 11 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 12 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 13 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 14 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 15 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 16 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 17 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 18 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 19 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 20 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 21 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 22 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 23 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 24 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 25 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 26 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 27 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 28 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 29 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 30 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 31 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 32 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 33 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 34 of 35
Case 4:21-cv-00754-DMR Document 1-1 Filed 01/29/21 Page 35 of 35
